    Case 13-13454-SDM
 Fill in this information to identify the case:
                                                Doc 68         Filed 04/26/19 Entered 04/26/19 15:29:50                    Desc Main
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B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Willie Richard
                       __________________________________________________________________

 Debtor 2               Virginia Richard
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________             MS
                                                                District of __________
                                                                                 (State)
 Case number            13-13454-SDM
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                               10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association,                                      Court claim no. (if known):
 Name of creditor:                ______________________________________
                                  as Trustee of the SCIG Series III Trust
                                                                                                             4
                                                                                                             _________________
                                                                                           2 ____
                                                                                           ____ 8 ____
                                                                                                  6 ____
                                                                                                       8
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                211 Alexander Street
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Shaw                        MS       38773
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
  X Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:
  X Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                  02    01 2019
                                                                                     ____/_____/______
                                                                                     MM / DD   / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +   (b)   $ __________
        c. Total. Add lines a and b.                                                                                       (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                  ____/_____/______
        due on:                                                                      MM / DD / YYYY


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Debtor 1        Willie Richard
                _______________________________________________________                                              13-13454-SDM
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
   X I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Michelle R. Ghidotti-Gonsalves
                   __________________________________________________
                   Signature
                                                                                              Date    04 26 2019
                                                                                                      ____/_____/________




 Print              Michelle              R.           Ghidotti-Gonsalves
                   _________________________________________________________                  Title   Authorized Agent
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           Ghidotti | Berger LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana                  CA              92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949
                   (______) 427 _________
                            _____– 2010                                                             mghidotti@ghidottiberger.com
                                                                                              Email ________________________




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1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 27180)
     GHIDOTTI | BERGER LLP
2    1920 Old Tustin Ave.
3    Santa Ana, CA 92705
     Ph: (949) 427-2010
4    Fax: (949) 427-2732
     mghidotti@ghidottiberger.com
5
     Attorney for Creditor
6
     U.S. Bank Trust National Association, as Trustee of the SCIG Series III Trust
7
                         UNITED STATES BANKRUPTCY COURT
8                 NORTHERN DISTRICT OF MISSISSIPPI - ABERDEEN DIVISION

9
     In Re:                                               )   CASE NO.: 13-13454-SDM
10                                                        )
     Willie Richard,                                      )   CHAPTER 13
11   Virginia Richard                                     )
12                                                        )   CERTIFICATE OF SERVICE
              Debtors.                                    )
13                                                        )
                                                          )
14
                                                          )
15                                                        )
                                                          )
16                                                        )
                                                          )
17
18
                                      CERTIFICATE OF SERVICE
19
20            I am employed in the County of Orange, State of California. I am over the age of
21
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin
22
     Avenue, Santa Ana, CA 92705.
23
24            I am readily familiar with the business’s practice for collection and processing of

25   correspondence for mailing with the United States Postal Service; such correspondence would
26   be deposited with the United States Postal Service the same day of deposit in the ordinary
27
     course of business.
28
     On April 26, 2019 I served the following documents described as:

                    RESPONSE TO NOTICE OF FINAL CURE PAYMENT
                                                      1
                                       CERTIFICATE OF SERVICE
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1
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
2
3    envelope addressed as follows:

4    (Via United States Mail)
     Debtor                                              Trustee
5    Willie Richard                                      Locke D. Barkley
6    P.O. Box 584                                        6360 I-55 North
     Shaw, MS 38773                                      Suite 140
7                                                        Jackson, MS 39211
     Joint Debtor
8
     Virginia Richard                                    U.S. Trustee
9    P.O. Box 584                                        U. S. Trustee
     Shaw, MS 38773                                      501 East Court Street, Suite 6-430
10                                                       Jackson, MS 39201
     Debtor’s Counsel
11
     Michael W. Boyd
12   Boyd Law Office, P.A.
     P.O. Box 1586
13   Greenville, MS 38702-1586
14
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
15   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
16
17   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
18
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
19   America that the foregoing is true and correct.
20
            Executed on April 26, 2019 at Santa Ana, California
21
     /s / Enrique Alarcon
22   Enrique Alarcon
23
24
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
